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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


  U.S. SECURITIES AND
  EXCHANGECOMMISSION,
                                                              Case Number: 1:21-cv-04027
                                Plaintiff,
                                                              Judge:
 v.
                                                              Magistrate Judge:
 LUPO SECURITIES LLC, FKA ALPHAGEN
 SECURITIES LLC,

                                Defendant.

                                             COMPLAINT

          Plaintiff U.S. Securities and Exchange Commission (the “SEC” or “Commission”), for its

Complaint against Defendant Lupo Securities, LLC (“Lupo” or “Defendant”), formerly known as

Alphagen Securities, LLC, alleges as follows:

                                             SUMMARY

          1.     This matter involves a violation by Defendant Lupo Securities LLC (“Lupo” or

“Defendant”) of Rule 14e-4, commonly referred to as the “short tender rule,” promulgated under

the Securities Exchange Act of 1934 (“the Exchange Act”). Under Rule 14e-4, a person

participating in a tender offer for less than all of the company’s outstanding shares of stock may

not tender more shares than its net ownership of the stock, after taking into account its short

positions in the stock. Because such partial tender offers are for fewer than all of the outstanding

shares of a security, a person tendering more shares than its net ownership (or net long position),

decreases the number of shares accepted from other participating shareholders. Accordingly,

violators of Rule 14e-4 enrich themselves at the expense of other participants in a partial tender

offer.
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       2.      In July 2016, Lockheed Martin Corporation (“Lockheed”) commenced a partial

tender offer for shares of its common stock.

       3.      The day before the expiration of the partial tender offer, Lupo tendered on its own

behalf 1,000,000 Lockheed shares, which was in excess of its net long position in Lockheed by

925,000 shares.

       4.      When so doing, Lupo violated Rule 14e-4, and illicitly profited at the expense of

others who tendered shares in the Lockheed partial tender offer.

                                           VIOLATION

       5.      By virtue of the foregoing conduct and as alleged further herein, Lupo has

violated Rule 14e-4.

       6.      Unless Lupo is restrained and enjoined, it will continue to engage in the acts,

practices, transactions, and courses of business set forth in this Complaint or in acts, practices,

transactions, and courses of business of similar type and object.

                NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

       7.      The Commission brings this action pursuant to the authority conferred upon it by

Exchange Act Section 21(d) [15 U.S.C. § 78u(d)].

       8.      The Commission seeks a final judgment: (a) permanently enjoining Lupo from

violating the federal securities rule this Complaint alleges it has violated; (b) ordering Lupo to

disgorge all ill-gotten gains received as a result of the violation alleged herein and to pay

prejudgment interest thereon; (c) ordering Lupo to pay a civil money penalty pursuant to

Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)]; and (d) ordering any other and further

relief the Court may deem just and proper.




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                                  JURISDICTION AND VENUE

          9.    This Court has jurisdiction over this action pursuant to Sections 21(d)(1),

21(d)(3)(A), 21(e), and 27(a) of the Exchange Act [15 U.S.C. §§ 78u(d)(1), 78u(d)(3)(A),

78u(e), and 78aa(a), respectively].

          10.   Defendant, directly and indirectly, has made use of the mails or by any means or

instrumentality of interstate commerce or of any facility of a national securities exchange or

otherwise in connection with the transactions, acts, practices, and courses of business alleged

herein.

          11.   Venue lies in this District under Exchange Act Section 27 [15 U.S.C. § 78aa].

During the time period relevant to the allegations in this Complaint, Lupo’s offices were located

in this District, Lupo transacted business in this District, and certain of the acts, practices,

transactions, and courses of business alleged in this Complaint occurred within this District.

                                           DEFENDANT

          12.   Lupo Securities LLC is an Illinois limited liability company organized on June

19, 1997, with offices in Chicago, Illinois. Lupo is a wholly-owned subsidiary of Lupo Holding

Company, LLC, which was formed in Delaware. Lupo was a broker-dealer registered with the

SEC, during which time it engaged in trading in its own account, and used ABN Amro Clearing

Chicago LLC (“ABN Amro”) as its clearing firm. On January 30, 2021, Lupo terminated its

SEC registration.

                        OTHER RELEVANT ENTITY AND PERSONS

          13.   Lockheed Martin Corporation is a public company registered with the SEC,

whose common stock is traded on the New York Stock Exchange under the trading symbol

“LMT.” The company’s headquarters is located in Bethesda, Maryland.



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       14.        Lupo CCO was Lupo’s chief compliance officer and assistant risk manager in

July and August 2016. Lupo CCO also held FINRA issued securities licenses: Series 3, 4, 7, 24,

53, 55, and 63.

       15.        Lupo Trader was, during July and August 2016, a co-manager of, and held a

two-thirds ownership interest in, Lupo Holding Company LLC. He was also an owner of, and

Class A trader for, Defendant Lupo Securities LLC.

                                              BACKGROUND

       16.        For purposes of this Complaint, a “partial tender offer” means an offer by a public

company to its shareholders to exchange less than all of the company’s outstanding shares of

stock for other stock and for which shares tendered by shareholders are accepted on a pro rata

basis for a specified period of time. This period of time is referred to as the “proration period.”

In this case, the proration period commenced on July 11, 2016, and ended at 8:00 a.m. (Eastern

Daylight Saving Time) on August 16, 2016.

       17.        When a public company offers to accept less than its total number of outstanding

shares of its stock, and a greater number of the company’s shares are tendered than the company

offered to accept, then the company is required to accept shares on a pro rata basis according to

the number of shares each person tenders. The percentage of tendered shares accepted by the

public company relative to the total shares subject to pro rata acceptance is known as the

“proration ratio” or “proration factor.” By their nature, partial tender offers involve risk to

shareholders of a public company that not all of the shares a shareholder tenders will be

accepted. This risk is referred to as “proration risk.”

       18.        A “short tender” is an investing practice that involves an investor tendering more

stock than the investor owns in order to avoid or reduce the investor’s proration risk



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        19.     “Call options” provide the holder the right (but not the obligation) to purchase a

specific amount of stock (generally 100 shares) at a specified price (the “strike price” or

“exercise price”), for a certain period of time. Investors buy call options when they think the

share price of the underlying stock will rise; they sell (or write) calls if they think the share price

will fall.

        20.     The term “standardized call option” means any call option that is traded on an

exchange, or for which quotation information is disseminated in an electronic interdealer

quotation system of a registered national securities association.

        21.     A “hedged tender” is an investing practice in which an investor tenders shares

owned by the investor as part of a partial tender offer but then sells some or all of those tendered

shares after that investor’s initial tender but before the expiration of a partial tender offer. The

investor can accomplish the same result by writing call options instead of selling shares. A

hedged tender has the same purpose and effect as a short tender.

        22.     “Short tenders” and “hedged tenders” have the effect of diluting the pro rata

acceptance of other investors because the pool of shares tendered is artificially increased, as to

short tendering because shares which do not actually exist are tendered, and in the case of

hedged tendering because of the possibility that the same shares would be effectively tendered by

two or more shareholders.

        23.     “Put options” provide the holder the right (but not the obligation) to sell a specific

amount of stock (generally 100 shares) at a specified strike price. The seller (or writer) of the

put option is obligated to buy the stock from the holder at the strike price. Investors buy puts if

they think the share price of the underlying stock will fall; they sell (or write) puts if they think

the share price will rise.



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       24.     If the exercise price of a call option is less than the market price of the stock, the

call option is said to be “in-the-money.”

       25.     The “volume weighted average price” (or “VWAP”) is a widely used industry

trading benchmark that gives the average price a stock has traded throughout the day, based on

both the size and price of that day’s trades.

                                            RULE 14e-4

       26.     Rule 14e-4 is generally designed to prohibit persons from tendering more shares

of stock than they own. Under the Rule, a person may tender shares into a partial tender offer

only if, both at the time of tender and at the end of the proration period, the person has a “net

long position” in either the shares or an equivalent security equal to or greater than the amount

tendered into the partial tender offer.

       27.     A “short position” includes the amount of stock that a person has sold, or has

entered into an unconditional contract, binding on both parties thereto, to sell; or has borrowed;

or has written a non-standardized call option, or granted any other right pursuant to which his

shares may be tendered by another person; or is obligated to deliver upon exercise of a

standardized call option sold on or after the date that a tender offer is first publicly announced or

otherwise made known by the bidder to holders of the security to be acquired, if the exercise

price of such option is lower than the highest tender offer price or stated amount of the

consideration offered for the subject security. For example, to attain a short position, an investor

who anticipates a decline in the price of a security may instruct her broker to sell short 100

shares of that security while the security trades at $50.00 per share. The broker then lends the

shares to the investor, and the investor sells those shares into the open market. The investor now

has a short position of 100 shares. She does not own the securities, and must, at a designated



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time, return those 100 shares to the broker. If the price of the security declines by $10.00, she

will purchase the shares for $4,000.00, return the shares to the broker, and claim a $1,000.00

profit.

          28.    A “long position” is the amount of stock a person or his agent has title to or would

have title to but for having lent such securities; or has purchased, or has entered into an

unconditional contract, binding on both parties thereto, to purchase but has not yet received; or

has exercised a standardized call option for; or has converted, exchanged, or exercised an

equivalent security for; or is entitled to receive upon conversion, exchange, or exercise of an

equivalent security. In other words, a “long position” means the amount of securities an investor

owns. For example, if an investor purchases 100 shares of stock, the investor has a long position

of 100 shares.

          29.    A person’s “net long position” in shares of stock equals the excess, if any, of such

 person’s “long position” over a person’s “short position.” For example, if an investor buys 100

shares of stock, and takes a short position in 50 shares of the same stock, then that investor’s net

 long position in the stock is 50 shares. For partial tender offer purposes, the calculation of the

 net long position must be done both at the time of tender and at the end of the proration period.

          30.    In a partial tender offer, such as the Lockheed partial tender offer described

below, the consideration offered is often shares of common stock.

          31.    In the context of a partial tender offer, determining whether a call option is a short

position requires calculating the value of the consideration offered as a dollar amount.

                                                FACTS

          32.    On January 26, 2016, Lockheed announced the spin-off of its information-

systems-and-global-solutions business to Leidos Holdings, Inc. (“Leidos”).



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       33.     On July 11, 2016, Lockheed announced commencement of a partial tender offer

as part of this spin-off. The partial tender offer would provide Lockheed stockholders with the

opportunity to exchange their shares of Lockheed common stock for shares of Abacus

Innovations Corporation (“Abacus”)―and Abacus shares would then be converted into an equal

number of shares of Leidos common stock. Prior to this exchange, Leidos would declare a

$13.64 special dividend, which would not be received by tendering Lockheed stockholders.

       34.     Lockheed’s announcement also detailed that it would determine the ratio at which

shares of Lockheed common stock would be exchanged for Abacus common stock―which, as

stated above, would be converted into an equal number of shares of Leidos common

stock―based on the average of the daily VWAPs (i.e., volume-weighted average price) of shares

of Lockheed common stock and Leidos common stock on the New York Stock Exchange on

each of three valuation dates ending on the third trading day prior to the expiration of the partial

tender offer, subject to an exchange ratio upper limit. Lockheed’s partial tender offer expired at

8 a.m. (Eastern Daylight Saving Time) on August 16, 2016.

       35.     Between July 12 and August 15, 2016, Lupo, through its agent Lupo Trader,

purchased 1,000,000 shares of Lockheed common stock, thereby acquiring a long position in

Lockheed shares. During this same period, Lupo, again through Lupo Trader, purchased and/or

sold Leidos common stock and various Lockheed and Leidos options.

       36.     On the morning of Friday, August 12, 2016, Lockheed announced that its

stockholders who tendered Lockheed stock into the partial tender offer would receive 8.2136

Leidos shares for each accepted share of Lockheed, and that a maximum of 9,369,694 shares

would be accepted—i.e., approximately 3% of Lockheed’s outstanding common stock.

       37.     By Monday, August 15, 2016—the last trading day before the expiration of the



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Lockheed’s partial tender offer—any party participating in the offer had available sufficient

information to calculate their net long position as reflected in this Table:

      (1)             (2)            (3)              (4)            (5)           (6)             (7)

   8/15/16         8/15/16         Leidos           Net          Published   Value of Premium per
  Lockheed         Leidos          Special         Leidos        Exchange Consideration   Share
   VWAP            VWAP           Dividend        VWAP             Ratio     Offered    Accepted
                                                  [(2)-(3)]                 [(4) x (5)] [(6) - (1)]
   $265.77          $50.51         $13.64          $36.87         8.2136     $302.84      $37.07

       38.     Based on the VWAP of Lockheed and Leidos on August 15, 2016, the value of

the consideration offered for each Lockheed share accepted in the partial tender offer was

$302.84. Accordingly, compared to the market price of Lockheed stock, there was a significant

premium of $37.07 per accepted Lockheed share, and standardized call options written on or

after July 11 with a strike price below $302.84 constituted short positions under Rule 14e-4.

       39.     At the close of trading on August 15, 2016, Lupo held positions in Lockheed and

Leidos securities, including long 1,000,000 shares of Lockheed stock, short 7,425 Lockheed

standardized call options (each representing 100 shares) at a $275 strike price, and short 1,825

Lockheed standardized call options (each representing 100 shares) at a $300 strike price. Lupo

wrote all of these call options on or after July 11, 2016.

       40.     Pursuant to Lupo’s “Written Supervisory Procedures Manual” (“Procedures”),

prior to participating in a partial tender offer, a Lupo trader must obtain confirmation from

Lupo’s chief compliance officer or an operation staff person that Lupo’s net long position is

equal to or exceeds the proposed quantity to be tendered.

       41.     On August 15, 2016, Lupo’s CCO reviewed Lupo’s partial tender offer

instructions to Lupo’s clearing firm, ABN Amro, to determine whether Lupo’s tender would

comply with Rule 14e-4. His review did not comport with Rule 14e-4. Instead of determining


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the value of the consideration offered—as outlined above—he estimated the value that Lupo

would receive by, first, randomly picking a number less than ten percent as his estimate of the

proration ratio, then using that estimate to approximate the combined value of both the shares

that would be accepted by Lockheed and those that would not accepted. Lupo CCO estimated

that Lupo would receive approximately $300 in value from the less than ten percent of Lockheed

shares tendered by Lupo that he estimated would be accepted by Lockheed and much less than

$300 in value from the greater than 90 percent of the shares he estimated would not be accepted

by Lockheed. Lupo CCO’s back-of-the-envelope estimate of the combined value of the

1,000,000 shares tendered by Lupo purportedly resulted in an amount less than $275 per share,

and on that basis he decided that the call options held by Lupo were not short positions under

Rule 14e-4, and, therefore, did not need to be subtracted from Lupo’s long position as required

by Rule 14e-4.

       42.       Lupo CCO did not discuss his calculations with Lupo Trader; he did not

memorialize his calculations in any way; and on August 15, 2016, he consulted neither Lupo’s

Procedures on Rule 14e-4 nor the text of the rule itself prior to performing his calculations.

       43.       Lupo Trader did not receive any training or instruction on how to comply with

Rule 14e-4.

       44.       At no time did Lupo provide Lupo CCO with a compliance-officer manual while

he was Lupo’s chief compliance officer; Lupo did not provide him with any training or courses

related to securities laws, rules or regulations, and Lupo did not provide him with any

compliance training.

       45.       On August 15, 2016, Lupo instructed its clearing firm, ABN Amro, to tender its

1,000,000 shares of Lockheed as part of the partial tender offer.



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          46.         Throughout the trading days from August 10-15, the value of the 8.2136 Leidos

shares offered in exchange for an accepted share of Lockheed exceeded $275, and on August 15,

it exceeded $300. Lupo, however, never reduced its short position in the call options during this

period.

          47.         On August 15, 2016, Lupo was long 1,000,000 Lockheed shares while still being

short 7,425 Lockheed standardized call options (representing 100 shares of Lockheed common

stock per option) with a strike price of $275 and 1,825 Lockheed standardized call options

(representing 100 shares of Lockheed common stock per option) with a strike price of $300. In

spite of this, Lupo tendered all 1,000,000 Lockheed shares on the afternoon of August 15,

without reducing the amount to account for its short position in the call options. Accordingly,

Lupo tendered 925,000 shares in excess of its net long position as reflected in the table below:

                (1)              (2)          (3)             (4)          (5)                  (6)
          Tendered             Long         Short         Short         Net Long        Excess Shares
          Lockheed            Position    Calls with     Position       Position          Tendered
           Shares                         a $300 or      (3) x 100       (2) - (4)         (1) - (5)
                                             $275
                                            Strike
          1,000,000          1,000,000       9,250       925,000         75,000            925,000

          48.         Lockheed’s partial tender offer expired at 8 a.m. (Eastern Daylight Saving Time)

on August 16, 2016. A total of 95,518,064 shares of Lockheed common stock was tendered as

part of Lockheed’s partial tender offer—86,148,370 more shares than Lockheed had agreed to

accept—which resulted in a proration ratio of approximately 8.05 percent.

          49.         On August 16, 2016, in anticipation of receiving Leidos shares from its

participation in the partial tender offer, Lupo sold short 42,500 Leidos shares. It also exercised

6,150 Leidos put options on August 19.

          50.         On August 23, 2016, Lockheed accepted 80,520 of Lupo’s tendered shares, and

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Lupo received 661,359 Leidos shares as a result, at a premium of $37.07 per share accepted

based on the prices of Lockheed and Leidos on August 15, 2016.

       51.     Lupo sold 3,850 Leidos shares on August 23, 2016 and 9 Leidos shares on August

24, 2016.

       52.     Had Lupo tendered only its net long position, 6,040 of its tendered shares would

have been accepted, and it would have received 49,607 Leidos shares.

       53.     As a result of its unlawful tender, Lupo received 611,752 more Leidos shares than

it should have, resulting in ill-gotten gains of more than $1 million.

       54.     The Commission has not exempted, pursuant to Rule 14e-4(c), Lupo’s tender as

described herein.

                                      CLAIM FOR RELIEF

                    (Lupo Securities LLC Violated Exchange Act Rule 14e-4)

       55.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 54, above.

       56.     Lupo, acting alone and in concert with others, directly and indirectly, tendered for

its own account Lockheed common stock in a partial tender offer.

       57.     At the time of its tender and the end of the partial tender offer proration period,

Lupo had a net long position less than the amount of Lockheed common stock that it tendered.

       58.     By reason of the foregoing, Lupo, directly or indirectly, alone or in concert, is

strictly liable for its violation of, and, unless enjoined, will again violate Rule 14e-4 under the

Exchange Act [17 C.F.R. § 240.14e-4].




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                                     PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:

                                                  I.

       Permanently enjoining Lupo and its agents, servants, employees, and attorneys and all

persons in active concert or participation with him from violating, directly or indirectly,

Exchange Act Rule 14e-4 [17 C.F.R. § 240.14e-4];

                                                 II.

       Ordering Lupo to disgorge all ill-gotten gains it received directly or indirectly, with pre-

judgment interest thereon, as a result of the alleged violation;

                                                 III.

       Ordering Lupo to pay civil monetary penalties under Exchange Act Section 21(d)(3) [15

U.S.C. § 78u(d)(3)]; and

                                                 IV.

       Granting any other and further relief this Court may deem just and proper.




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                                         JURY DEMAND

       Pursuant to Rules 38(b) and 39(a) of the Federal Rules of Civil Procedure, the SEC

demands trial by jury on all issues so triable.

 Date: July 29, 2021                       Respectfully submitted,

                                           United States Securities and Exchange Commission

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